Case 2:05-cv-02333-SHI\/|-dkv Document 19 Filed 08/24/05 Page 1 of 4 Page|D 24

Fu.so ev ”_?§; D_c_

IN THE UNITED STATEs DISTRICT COURT 05 AUG 20 AH 7= 00

FoR THE wEsTERN DIsTRIcT oF TENNESSEE
WESTERN DIVIsIoN THOWS M. GOULD

CLERK U,S MSIHFJTCOLHT
050 C‘F ‘.iE-';-i?lq*i$

 

THOMAS & BETTS INTERNATIONAL, INC.
and THOMAS & BET'I`S CORPORATION

Plaintiff,
Civil Action No. 05-2333 - Ma V
v.
JOHN MEZZALINGUA ASSOCIATES, INC. JURY TRIAL DEMANDED
d/b/a PPC, INC.
Defendant.

 

_ ORDER GRANTING
MOTION FOR LEAVE TO APPEAR PRO HAC VICE

 

This matter comes before the Court, pursuant to Local Rule 83.1(b), on the motion of
Jonathan C. Hancock, counsel for plaintiffs Thomas & Betts International, lnc. and Thomas &
Betts Corporation, who is generally admitted to practice before this Court, to allow Alan M.
Fisch, Kelly A. Clement and Jason F. Hoffman, members in good standing of the bar of the
District of Columbia, to appear pro hac vice as co-counsel for the plaintiffs

The Court being sufficiently advised that Mr. Fisch, Mr. Clement and Mr. Hoffinan are
members in good standing of the bar of the District of Columbia and that they are familiar with
the local rules of this Court, as well as the Guidelines of Professional Courtesy and Conduct, it is
hereby ORDERED that Alan M. Fisch, Kelly A. Clement and Jason F. Hof&nan of Howrey LLP,
1299 Pennsylvania Avenue, NW, Washington, DC, 20004-2402, are granted leave to appear pro

hac vice for the plaintiffs Thomas & Betts lnternational, Inc. and Thomas & Betts Corporation,

SO ORDERED this g 2 day of (?¢¢t pbgc 2005.

DM_US\$MZGlZ-vl Tnls document entered on the docket sh t xn eggs |ianee
wlth Hu!e 55 and/or 79(3) FRCP on ' "

Case 2:05-cv-02333-SHI\/|-dkv Document 19 Filed 08/24/05 Page 2 of 4 Page|D 25

  

 

UN I`ED STATES ISTRICT JUDGE

Submitted by:

GLANKLER BROWN, PLLC

 

By:
Jonathan C. Hancock (#18018)

1700 One Commerce Square
Memphis, TN 38102

(901) 525-1322 _ Telephone
(901) 525-2389 m Facsimile

Attorneys for Plaintiffs

Thomas & Betts International, lnc. and
Thomas & Betts Corporation

DM_US\8242612.vl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02333 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

ESSEE

 

.l ames R. Muldoon

WALL MARJAMA & BILINSKI, LLP
101 S. Salina St.

Ste. 400

Syracuse7 NY 13202

Jason F. Hoffman

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

.lonathan C. Hancock
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Alan M. Fisch

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Kelly A. Clement

HOWREY SIMON ARNOLD & WH[TE LLP
1299 Pennsylvania Avenue N. W.

Washington, DC 20004

Eric S. Schlichter
HOWREY LLP
750 Bering Drive
Houston, TX 77057

Case 2:05-cv-O2333-SHI\/|-dkv Document 19

Charles F. Newman

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103--221

Honorable Sarnuel Mays
US DISTRICT COURT

Filed 08/24/05 Page 4 of 4 Page|D 27

